
The opinion of the Court is internally inconsistent in stating applicable tests for determining reversible error whenBrady v. Maryland material is not disclosed by the State.1 Compare stated test on page 670 with statements at pages 670, 671 and 671, 672.
Brady is bottomed on the fact that accused requested particular material. A careful reading of United States v.Agurs, 427 U.S. 97, 96 S.Ct. 2392, 49 L.Ed.2d 342 (1976), will reveal what the Supreme Court decided there, viz:
 "[W]hether the prosecutor has any constitutional duty to volunteer exculpatory matter to the defense, and if so, what standard of materiality gives rise to that duty."
Id., at 107, S.Ct. at 2399. Thus when a request for discovery is specific the test is prescribed by Brady v.Maryland; when there is merely a general request or none at all the test is in Agurs. The court of appeals failed to make such a delineation.
This Court recognized the difference in Frank v.State, 558 S.W.2d 12 (Tex.Cr.App. 1977), shortly afterAgurs was handed down. However, in Stone v.State, 583 S.W.2d 410 (Tex.Cr.App. 1979), it did not, and erroneously applied Agurs; though accused requested particular reports which a Court panel found "may have aided the defense," it concluded that "the omissions are not so material as to create 'a reasonable doubt that did not otherwise exist.' United States v. Agurs, supra."Id., at 415. See also Crawford v. State, 617 S.W.2d 925
(Tex.Cr.App. 1980).
Similarly, in this cause the opinion of the Court notices this is a general Brady motion containing also a specific request, but in addressing each it indiscriminately mixes bits of Brady with pieces of Agurs.
For example, to the specific request for test results, opinion, at 670, it wrongly applies the "materiality" test and "reasonable doubt" standard of Agurs, at pp. 671, 672.2 *Page 673 
While the ultimate result may be correct, we should sort out, delineate and apply proper tests and standards to reach it. This cause presents a practical opportunity to do so. Because the Court leaves them in disarray, I join only its judgment.
TEAGUE and MILLER, JJ., join this opinion.
1 Brady v. Maryland, 373 U.S. 83, at 87, 83 S.Ct. 1194, at 1196-1197, 10 L.Ed.2d 215 (1963): "[S]uppression by the prosecution of evidence favorable to an accused uponrequest violates due process where the evidence is material either to guilt or to punishment, irrespective of the good faith or bad faith of the prosecution." (All emphasis is mine throughout unless otherwise noted.) Moore v.Illinois, 408 U.S. 786, at 794, 92 S.Ct. 2562, at 2568, 33 L.Ed.2d 706 (1972), merely restates the same test; see page 3 of opinion of the Court.
2 To be noted is that those are constitutional tests and standards to assay violations of due process when sans
request the prosecution fails voluntarily to disclose evidence. They are not intended to govern construction of statutory discovery provisions, as the Supreme Court expressly pointed out in Agurs, supra, 427 U.S. at 107, 96 S.Ct., at 2399. See Quinones v. State, 592 S.W.2d 933
(Tex.Cr.App. 1980) (Roberts, J., dissenting, at 947). Here, the trial court granted discovery requested by motion. Our concern is solely with noncompliance by prosecution. That is controlled by Brady not Agurs.